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IN THE CIRCUIT COURT OF ASHLEY COUNTY, ARKANSAS
DIVTSION

DELOIS PIPPEN, as Special Administratrix of PLAINTIFF
the Estate of Lucille G. Billings, deceased, and

on behalf of the wrongful death beneficiaries

of Lucille G. Billings', and

On Behalf ofAll Others Similarly Situated

vs. C/>isa No. llc ’ OJ'Q*" L\“

PINEWOOD HEALTH AND REHABILITATION, LLC; DEFENDANT
Arkansas SNF Operations Acquisition, LLC;

Arkansas Nursing Home Acquisition, LLC;

CSCV Holdings, LLC; Capital Funding Group, lnc.;

SLC Professionals, LLC; SLC Professionals AR7, LLC;

SLC Professionals Holdings, LLC; SLC Operations Holdings, LLC;

SLC Operations, LLC; SLC Administrative Services of Arkansas, LLC;

Senior Living Communities of Arkansas, LLC; Addit, LLC;

SLC Operations Master Tenant, LLC; SLC Properties, LLC; F“_ED FOR RECORD
1101 Waterwell Road, LLC; CSCV Arkansas Realty, LLC; AS le County, image
Alan Zuccari; Brian Reynolds; John W. Dwyer; Daniel Baird; aim °'°l°°k m

Troy Morris, in his ca acity as Administrator of
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Pinewood Health and Rehabilitation, LLC;

Emily Greene, in her capacity as Administrator of _

Pinewood Health and Rehabilitation, LLC; Vl l ELM ms
B

Carol Hoelscher, in her capacity as Adrninistrator of
Pinewood Health and Rehabilitation, LLC; and
Barney L. Pierce, in his capacity as Adrninistrator of
Pinewood Health and Rehabilitation, LLC
CLASS ACTION COMPLAINT

COMES NOW, the Plaintit`f, Delois Pippen, as Special Administratrix of the Estate of
Lucille G. Billings and on behalf of herself and all others similarly situated, by and through her
attomeys, Reddicl< Moss, PLLC, and for her causes of action against the Defendants, state as

follows:

INTRODUCTION

 

l. The class claims of this Cornplaint are that the Defendants acted in concert and/or
as part of a joint enterprise to chronically understaff Pinewood Health and Rehabilitation, LLC

so as to breach the residents’ statutory and contractual rights and unjustly enrich the Defendants.

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This complaint includes a request that a class be certified consisting of all Arkansas citizens who
were residents of Pinewood Health and Rehabilitation, LLC and the estates of Arkansas citizens
who resided at Pinewood Health and Rehabilitation, LLC (“Pinewood Health and
Rehabilitation,” also sometimes referred to simply as the “Facility”) from Septernber l, 2011
through December 1, 2015, as well as a prayer for compensatory, economic and punitive
damages, attorneys’ fees, interest, and costs. Plaintiff`, Delois Pippen, as Special Administratrix
of the Estate of Lucille Billings, and on behalf of the wrongful death beneficiaries of Lucille
Billings, brings this action on behalf of the Estate of Lucille Billings for, among other things,
negligence and wrongful death. Like the other proposed Plaintiff Class members, she also brings
class claims as described below:
PARTIES

2. Delois Pippen, an Arl<ansas citizen, is Lucille Billings’ daughter and the Special
Administratn`x of her Estate pursuant to an Order of the Ashley County Circuit Court, Probate
Division, Case No. PR~2015-44-3, a copy of which is attached hereto as Exhibit A.

3. Lucille Billings was a resident of Pinewood Health and Rehabilitation, a nursing
home located at 1101 Waterwell Road, Crossett, Ashley County, Arkansas, from February 15,
2013 until March 5, 2013, from October 24, 2013 until October 29, 2013, and from Decernber
12, 2014 until her death on January 3, 2015.

4. Defendant Pinewood Health and Rehabilitation, LLC is a limited liability
company organized under the laws of the State of Arkansas and authorized to do business in the
State of Arkansas and, during all times pertinent to this lawsuit, was engaged in the business of
operating, managing, owning, controlling, providing services for, and holding the license for the
nursing horne Pinewood Health and Rehabilitation. The causes of action made the basis of this

complaint arise out of such business conducted by Pinewood Health and Rehabilitation, LLC in

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the operation, management, ownership, control, provision of services, and licensing of the
Facility during the residency of Lucille Billings and during the class period. Nursing homes in
the State of Arkansas must be licensed by the Office of Long Term Care in order to operate Ark.
Code Ann. § 20-10-224(a). As the holder of the license to operate the Facility, Pinewood Health
and Rehabilitation, LLC is a defendant whose conduct forms a significant basis of the claims
asserted herein and from whom significant relief is sought Pinewood Health and Rehabilitation,
LLC’s principal place of business is 1101 Waterwell Road, Crossett, Arl<ansas 71635. The agent
for service of process for Pinewood l-lealth and Rehabilitation, LLC is TRAC-The Registered
Agent Cornpany, 300 S. Spring Street, Suite 900, Little Rocl<, Arkansas 72201.

5. Defendant Arkansas SNF Operations Acquisition, LLC is a foreign limited
liability company organized and existing under the laws of the State of Delaware. Arkansas SNF
Operations Acquisition, LLC was engaged in business in the State of Arkansas and operated,
managed, owned, controlled, and/or provided services for the nursing home Pinewood Health
and Rehabilitation during the residency of Lucille Billings and during the class period. The
causes of action made the basis of this complaint arise out of such business conducted by
Arkansas SNF Operations Acquisition, LLC in the operation, management, ownership, control,
and/or provision of services for the Facility. At all times material to this action, Arkansas SNF
Operations Acquisition, LLC was a control person as defined in Ark. Code Ann. § 4_88~
113(d)(1) and is therefore jointly and severally liable for the Plaintiffs’ damages The agent for
service of process for Arkansas SNF Operations Acquisition, LLC is TRAC~The Registered
Agent Company, 800 North State Street, Suite 402, Dover, Delaware 19901.

6. Defendant Arkansas Nursing Horne Acquisition, LLC is a foreign limited liability
company organized and existing under the laws of the State of Virginia. Arl<ansas Nursing Home

Acquisition, LLC was engaged in business in the State of Arkansas and operated, managed,

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owned, controlled, and/or provided services for the nursing home Pinewood Health and
Rehabilitation during the residency of Lucille Billings and during the class period. The causes of
action made the basis of this complaint arise out of such business conducted by Arl<ansas
Nursing Home Acquisition, LLC in the operation, management, ownership, control, and/or
provision of services for the Facility. At all times material to this action, Arkansas Nursing
Home Acquisition, LLC was a control person as defined in Ark. Code Ann. § 4-88-113(d)(l) and
is therefore jointly and severally liable for the Plaintiffs’ damages The agent for service of
process for Arkansas Nursing Home Acquisition, LLC is Gentry Locke Rakes & Moore LLP, lO
Franldin Road SE, 800 Suntrust Plz, P.O. Box 40013, Roanoke, Virginia 24022.

7. Defendant CSCV Holdings, LLC is a foreign limited liability company organized
and existing under the laws of the State of l\/laryland. CSCV Holdings, LLC was engaged in
business in the State of Arkansas and operated, managed, owned, controlled, and/or provided
services for the nursing home Pinewood Health and Rehabilitation during the residency of
Lucille Billings and during the class period. The causes of action made the basis of this
complaint arise out of such business conducted by CSCV Holdings, LLC in the operation,
management, ownership, control, and/or provision of services for the Facility. At all times
material to this action, CSCV Holdings, LLC was a control person as defined in Ark. Code Ann.
§ 4»88-113(d)(l) and is therefore jointly and severally liable for the Plaintiffs’ damages The
agent for service of process for CSCV l-loldings, LLC is HIQ Maryland Corporation, 715 St.
Paul St., Baltimore, Maryland 21202.

8. Defendant Capital Funding Group, lnc. is a foreign corporation organized and
existing under the laws of the State of Delaware. Capital Funding Group, lnc. was engaged in
business in the State of Arkansas and operated, managed, owned, controlled, and/or provided

services for the nursing horne Pinewood Health and Rehabilitation during the residency of

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Lucille Billings and during the class period. The causes of action made the basis of this
complaint arise out of such business conducted by Capital Funding Group, Inc. in the operation,
management, ownership, control, and/or provision of services for the Facility. At all times
material to this action, Capital Funding Group, lnc. was a control person as defined in Ark. Code
Ann. § 4-88-113(d)(1) and is therefore jointly and severally liable for the Plaintiff`s’ damages
The agent for service of process for Capital Funding Group, lnc. is 'l`he Company Corporation,
2711 Centerville Rd., Ste. 400, Wilmington, Delaware 19808.

9. Defendant SLC Professionals, LLC f/k/a SLC Professionals of Arkansas, LLC is
a limited liability company organized under the laws of the State of Arkansas and authorized to
do business in the State of Arkansas and, during all times pertinent to this lawsuit, was engaged
in the business of operating, managing, owning, controlling, and/or providing services for the
nursing home Pinewood I-lealth and Rehabilitation. The causes of action made the basis of this
complaint arise out of such business conducted by SLC Professionals, LLC in the operation,
management, ownership, control, and/or provision of services for the Facility during the
residency of Lucille Billings and during the class period SLC Professionals, LLC provided
clinical consulting services for the Facility and was directly involved in overseeing, supervising,
influencing, and directing the day-to-day and clinical care provided to Lucille Billings and other
residents of the Facility. Accordingly, SLC Professionals, LLC is a defendant whose conduct
forms a significant basis of the claims asserted herein and from whom significant relief is sought
At all times material to this action, SLC Professionals, LLC was a control person as defined in
Ark. Code Ann. § 4»88-113(d)(1) and is therefore jointly and severally liable for the Plaintiffs’
damages The agent for service of process for SLC Professionals, LLC is TRAC-The Registered

Agent Company, 300 S. Spring Street, Suite 900, Little Rock, Arkansas 72201.

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10. Defendant SLC Professionals AR?, LLC is a foreign limited liability company
organized and existing under the laws of the State of Delaware. SLC Professionals AR7, LLC
was engaged in business in the State of Arkansas and operated, managed, owned, controlled,
and/or provided services for the nursing home Pinewood Health and Rehabilitation during the
residency of Lucille Billings and during the class period. The causes of action made the basis of
this complaint arise out of such business conducted by SLC Professionals AR7, LLC in the
operation, management, ownership, control, and/or provision of services for the Facility. At all
times material to this action, SLC Professionals AR7, LLC was a control person as defined in
Arl<. Code Ann. § 4-88-113(d)(l) and is therefore jointly and severally liable for the Plaintiffs’
damages The agent for service of process for SLC Professionals AR7, LLC is TRAC-The
Registered Agent Cornpany, 800 North State Street, Suite 402, Dover, Delaware, 19901.

11. Defendant SLC Professionals Holdings, LLC is a foreign limited liability
company organized and existing under the laws of the State of Delaware. SLC Professionals
Holdings, LLC was engaged in business in the State of Arl<ansas and operated, managed, owned,
controlled, and/or provided services for the nursing horne Pinewood Health and Rehabilitation
during the residency of Lucille Billings and during the class period. The causes of action made
the basis of this complaint arise out of such business conducted by SLC Professionals Holdings,
LLC in the operation, management, ownership, control, and/or provision of services for the
Facility. At all times material to this action, SLC Professionals Holdings, LLC was a control
person as defined in Ark. Code Ann. § 4-88-113(d)(l) and is therefore jointly and severally
liable for the Plaintiffs’ damages The agent for service of process for SLC Professionals
Holdings, LLC is TRAC-The Registered Agent Company, 800 North State Street, Suite 402,

Dover, Delaware, 19901.

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12. Defendant SLC Operations Holdings, LLC is a foreign limited liability company
organized and existing under the laws of the State of Delaware, SLC Operations Holdings, LLC
was engaged in business in the State of Arkansas and operated, managed, owned, controlled,
and/or provided services for the nursing home Pinewood Health and Rehabilitation during the
residency of Lucille Billings and during the class period. The causes of action made the basis of
this complaint arise out of such business conducted by SLC Operations Holdings, LLC in the
operation, management, ownership, control, and/or provision of services for the Facility. At all
times material to this action, SLC Operations Holdings, LLC was a control person as defined in
Arl<. Code Ann. § 4-88~113(d)(1) and is therefore jointly and severally liable for the Plaintiffs’
damages The agent for service of process for SLC Operations Holdings, LLC is Corporation
Service Company, 2711 Centerville Road, Suite 400, Wilrnington, Delaware, 19808.

13. Defendant SLC Operations, LLC is a foreign limited liability company organized
and existing under the laws of the State of Delaware. SLC Operations, LLC was engaged in
business in the State of Arkansas and operated, managed, owned, controlled, and/or provided
services for the nursing home Pinewood Health and Rehabilitation during the residency of
Lucille Billings and during the class period. The causes of action made the basis of this
complaint arise out of such business conducted by SLC Operations, LLC in the operation,
management, ownership, control, and/or provision of services for the Facility. At all times
material to this action, SLC Operations, LLC was a control person as defined in Ark. Code Ann.
§ 4~88-113(d)(1) and is therefore jointly and severally liable for the Plaintiffs’ damages The
agent for service of process for SLC Operations, LLC is Corporation Service Company, 2711
Centerville Road, Suite 400, Wilmington, Delaware, 19808.

14. Defendant SLC Administrative Services of Arkansas, LLC is a limited liability

company organized under the laws of the State of Arkansas and authorized to do business in the

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State of Arkansas and, during all times pertinent to this lawsuit, was engaged in the business of
operating, managing, owning, controlling, and/or providing services for the nursing home
Pinewood Health and Rehabilitation. The causes of action made the basis of this complaint arise
out of such business conducted by SLC Administrative Services of Arkansas, LLC in the
operation, management, ownership, control, and/or provision of services for the Facility during
the residency of Lucille Billings and during the class period. SLC Administrative Services of
Arkansas, LLC provided clinical and/or budgetary consulting and services for the Facility and
was directly involved in overseeing, supervising, influencing, and directing the day~to-day
operations of the Facility and directly influencing the staffing levels at the facility through
budgetary and financial constraints Accordingly, SLC Administrative Services of Arkansas,
LLC is a defendant whose conduct forms a significant basis of the claims asserted herein and
from whom significant relief is sought At all times material to this action, SLC Administrative
Services of Arl<ansas, LLC was a control person as defined in Ark. Code Ann. § 4-88-113(d)(1)
and is therefore jointly and severally liable for the Plaintiffs’ damages The agent for service of
process for SLC Administrative Services of Arkansas, LLC is Corporation Service Cornpany,
300 Sprlng Building, Suite 900, 300 S. Spring Street, Little Rock, Arkansas 72201.

15. vDefendant Senior Living Cornmunities of Arkansas, LLC is a foreign limited
liability company organized and existing under the laws of the State of Delaware. Senior Living
Communities of Arl<ansas, LLC was engaged in business in the State of Arl<ansas and operated,
managed, owned, controlled, and/or provided services for the nursing home Pinewood Health
and Rehabilitation during the residency of Lucille Billings and during the class period. The
causes of action made the basis of this complaint arise out of such business conducted by Senior
Living Communities of Arl<ansas, LLC in the operation, management, ownership, control, and/or

provision of services for the Facility. At all times material to this action, Senior Living

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Communities of Ar`l<ansas, LLC was a control person as defined in Ark. Code Ann. §§ 4-88-
113(d)(l) and is therefore jointly and severally liable for the Plaintiff`s’ damages The agent for
service of process for Senior Living Communities of Arkansas, LLC is Corporate Service
Company, 300 South Spring Street, Suite 900, Little Rock, Arkansas 72201.

16. Defendant Addit, LLC is a foreign limited liability company organized and
existing under the laws of the State of indiana Addit, LLC was engaged in business in the State
of Arkansas and operated, managed, owned, controlled, and/or provided services for the nursing
home Pinewood Health and Rehabilitation during the residency of Lucille Billings and during
the class period The causes of action made the basis of this complaint arise out of such business
conducted by Addit, LLC in the operation, management, ownership, control, and/or provision of
services for the Facility. At all times material to this action, Addit, LLC was a control person as
defined in Ark. Code Ann. § 4-88-113(d)(1) and is therefore jointly and severally liable for the
Plaintiff`s’ damages The agent for service of process for Addit, LLC is TRAC-The Registered
Agent Company, 3310 Busy Bee Ln., lndianapolis, Indiana 46227.

17. Defendant SLC Operations Master Tenant, LLC is a foreign limited liability
company organized and existing under the laws of the State of Delaware. SLC Operations
Master Tenant, LLC was engaged in business in the State of Arkansas and operated, managed,
owned, controlled, and/or provided services for the nursing home Pinewood Health and
Rehabilitation during the residency of Lucille Billings and during the class period. The causes of
action made the basis of this complaint arise out of such business conducted by SLC Gperations
Master Tenant, LLC in the operation, management, ownership, control, and/or provision of
services for the Facility. At all times material to this action SLC Operations Master Tenant, LLC
was a control person as defined in Ark. Code Ann. § 4-88‘1 13(d)(l) and is therefore jointly and

severally liable for the Plaintiffs’ damages The agent for service of process for SLC Operations

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Master 'l`enant, LLC is TRAC-'l`he Registered Agent Company, 300 South Spring Street, Suite
900, Little Rock, Arkansas 72201.

18. Defendant SLC Properties, LLC is a foreign limited liability company organized
and existing under the laws of the State of Delaware. SLC Properties, LLC was engaged in
business in the State of Arkansas and operated, managed, owned, controlled, and/or provided
services for the nursing horne Pinewood Health and Rehabilitation during the residency of
Lucille Billings and during the class period. The causes of action made the basis of this
complaint arise out of such business conducted by SLC Properties, LLC in the operation,
management, ownership, control, and/or provision of services for the Facility. At all times
material to this action, SLC Properties, LLC was a control person as defined in Arl<. Code Ann. §
4~88-113(d)(1) and is therefore jointly and severally liable for the Plaintiffs’ damages The agent
for service of process for SLC Properties, LLC is Corporation Service Company, 2711
Centerville Road, Suite '400, Wilmington, Delaware 19808.

19. Defendant 1101 Waterwell Road, LLC is a limited liability company organized
under the laws of the State of Arkansas and authorized to do business in the State ot` Arl<ansas
and, during all times pertinent to this lawsuit, was engaged in the business of operating,
managing, owning, controlling, and/or providing services for the nursing home Pinewood Health
and Rehabilitation. The causes of action made the basis of this complaint arise out of such
business conducted by 1101 Waterwell Road, LLC in the operation, management, ownership,
control, and/or provision of services for the Facility during the residency of Lucille Billings and
during the class period. 1101 Waterwell Road, LLC controlled either directly or indirectly
virtually all of the property, both tangible and intangible, necessary to operate the Facility and,
therefore, directly influenced the operating and living conditions at the Facility. Accordingly,

1101 Waterwell Road, LLC is a defendant whose conduct forms a significant basis of the claims

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asserted herein and from whom significant relief is sought. At all times material to this action,
1101 Waterwell Road, LLC was a control person as defined in Ark. Code Ann. § 4-88-113(d)(l)
and is therefore jointly and severally liable for the Plaintiffs’ damages The agent for service of
process for 1101 Waterwell Road, LLC is The Corporation Cornpany, 124 West Capitol Ave,
Suite 1900, Little Rock, AR 72201.

20. Defendant CSCV Arl<ansas Realty, LLC is a limited liability company organized
under the laws of the State of Arl<ansas and authorized to do business in the State of Arkansas
and, during all times pertinent to this lawsuit, was engaged in the business of operating,
managing, owning, controlling, and/or providing services for the nursing home Pinewood Health
and Rehabilitation. The causes of action made the basis of this complaint arise out of such
business conducted by CSCV Arkansas Realty, LLC in the operation, management, ownership,
control, and/or provision of services for the Facility during the residency of Lucille Billings and
during the class period CSCV Arl<ansas Realty, LLC controlled either directly or indirectly
virtually all of the property, both tangible and intangible, necessary to operate the Facility and,
therefore, directly influenced the operating and living conditions at the Facility. Accordingly,
CSCV Arkansas Realty, LLC is a defendant whose conduct forms a significant basis of the
claims asserted herein and from whom significant relief is sought. At all times material to this
action, CSCV Arkansas Realty, LLC was a control person as defined in Ark. Code Ann. § 4~88»
ll3(d)(l) and is therefore jointly and severally liable for the Plaintiffs’ damages The agent for
service of process for CSCV Arkansas Realty, LLC is TRAC-'l`he Registered Agent Company,
300 South Spring Street, Suite 900, Little Rock, Arkansas 72201.

21. Defendant Alan Zuccari, an individual Whose address is 7712 Carlton Place,
McLean, Virginia 22102, owned Pinewood Health and Rehabilitation, LLC and controlled the

Facility’s operation, management, and policies and procedures Upon information and belief,

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Alan Zuccari owns 100% of Defendant Arl<ansas Nursing Home Acquisition, LLC, which owns
49% of Defendant Arl<ansas SNF Operations Acquisition, LLC, which owns 100% of Pinewood
Health and Rehabilitation, LLC. The causes of action made the basis of this complaint arise out
of the conduct of Alan Zuccari in the operation, management, control, and development and
implementation of policies and procedures for the Facility during the residency of Lucille
Billings and during the class period Defendant Alan Zuccari also operated, managed, and
controlled the other corporate Defendants named herein. At all times material to this action, Alan
Zuccari was a control person as defined in Ark. Code Ann. § 4-88-113(d)(l) and is therefore
jointly and severally liable for the Plaintift’ s damages

22. Defendant Brian Reynolds, an individual whose address is 1422 Clarkview Road,
Baltirnore, Maryland, 21209 owned Pinewood Health and Rehabilitation, LLC and controlled the
Facility’s operation, management, and policies and procedures Upon information and belief,
Brian Reynolds owns 10% of Defendant CSCV Holdings, LLC, which owns 51% of Defendant
Arkansas SNF Operations Acquisition, LLC, which owns 100% of Pinewood Health and
Rehabilitation, LLC. The causes of action made the basis of this complaint arise out of the
conduct of Brian Reynolds in the operation, management, control, and development and
implementation of policies and procedures for the Facility during the residency of Lucille
Billings and during the class period Defendant Brian Reynolds also operated, managed, and
controlled the other corporate Defendants named herein. At all times material to this action,
Brian Reynolds was a control person as defined in Ark. Code Ann. § 4~88-113(d)(l) and is
therefore jointly and severally liable for the Plaintiff's damages

23. Defendant lohn W. Dwyer an individual whose address is 405 Atlantic Street,
Melbourne, Florida 32951 owned Pinewood Health and Rehabilitation, LLC and controlled the

Facility’s operation, management and policies and procedures Upon information and belief,

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lohn W. Dwyer, either individually or through a trust under his direct control, owns 100% of
Defendant Capital Funding Group, lnc., which owns 90% of Defendant CSCV Holdings, LLC,
which owns 51% of Defendant Arkansas SNF Operations Acquisition, LLC, which owns 100%
of Pinewood Health and Rehabilitation, LLC. The causes of action made the basis of this
complaint arise out of the conduct of John W. Dwyer in the operation, management, control, and
development and implementation of policies and procedures for the Facility during the residency
of Lucille Billings and during the class period Defendant lohn W. Dwyer also operated,
managed, and controlled the other corporate Defendants named herein At all times material to
this action, John W. Dwyer was a control person as defined in Arl<. Code Ann. § 4-88-113(d)(1)
and is therefore jointly and severally liable for the Plaintiff"s damages

24. Defendant Daniel Baird, an individual whose address is 1422 Clarkview Road,
Baltimore, Maryland, 21209 owned Pinewood Health and Rehabilitation, LLC and controlled the
Facility’s operation, management, and policies and procedures Upon information and belief`,
Daniel Baird was a manager of Defendant Pinewood Health and Rehabilitation, LLC, and the
causes of action made the basis of this complaint arise out of the conduct of` Daniel Baird in the
operation, management, control, and development and implementation of policies and
procedures for the Facility during the residency of Lucille Billings and during the class period
Defendant Daniel Baird also operated, managed, and controlled the other corporate Defendants
named herein. At all times material to this action, Daniel Baird was a control person as defined
in Ark. Code Ann. § 4-88~113(d)(l) and is therefore jointly and severally liable for the Plaintiff’s
damages

25. Upon information and belief, Defendant Troy lvlorris was an Administrator of
Pinewood Health and Rehabilitation during the residency of Lucille Billings and/or during the

class period Arkansas nursing homes are required to be under the administrative direction and

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charge of a licensed nursing home administratorl Ark. Code Ann. § 20-10-1203(1).
Administrators are charged by law with responsibility for the management of nursing homes 42
C.F.R. § 483.75. Troy Morris, as an Administrator of Pinewood Health and Rehabilitation,
directed the overall, day-to-day operations of the facility and was supposed to ensure compliance
with government regulations and facility policies, including staffing regulations and policies
'l`roy Morris, as an Administrator of Pinewood Health and Rehabilitation, also monitored the
quality of care being provided in the Facility, was responsible for the Facility’s budgetary
perforrnance, was responsible for ensuring adequate staffing at the Facility, and also developed
and implemented marketing programs to attract residents or their responsible parties to the
Facility. Accordingly, Troy Morris is a defendant whose conduct forms a significant basis of the
claims asserted herein and from whom significant relief is sought The causes of action made the
basis of this complaint arise out of the conduct of Troy Morris’s administration of the Facility.
Troy Morris is an Arkansas citizen and may be served with process at his last known address:
229 Perla Road, Malvern, Arkansas 72104.

26. Upon information and belief, Defendant Ernily Greene was an Administrator of
Pinewood Health and Rehabilitation during the residency of Lucille Billings and/or during the
class period Arkansas nursing homes are required to be under the administrative direction and
charge of a licensed nursing horne administrator. Ark. Code Ann. § 20-10-1203(1).
Administrators are charged by law with responsibility for the management of nursing homes 42
C.F.R. § 483.75. Emily Greene, as an Administrator of Pinewood Health and Rehabilitation,
directed the overall, day-to-day operations of the facility and was supposed to ensure compliance
with government regulations and facility policies, including staffing regulations and policies
Emily Greene, as an Administrator of Pinewood Health and Rehabilitation, also monitored the

quality of care being provided in the Facility, was responsible for the Facility’s budgetary

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performance, was responsible for ensuring adequate staffing at the Facility, and also developed
and implemented marketing programs to attract residents or their responsible parties to the
Facility. Accordingly, Emily Greene is a defendant whose conduct forms a significant basis of
the claims asserted herein and from whom significant relief is sought The causes of action made
the basis of this complaint arise out of the conduct of Emily Greene’s administration of the
Facility. Emily Greene is an Arkansas citizen and may be served with process at her last known
address: 1038 Ashley 17, Hamburg, Arkansas 71646.

27. Upon information and belief, Defendant Carol Hoelscher was an Administrator of
Pinewood Health and Rehabilitation during the residency of Lucille Billings and/or during the
class period Arl<ansas nursing homes are required to be under the administrative direction and
charge of a licensed nursing horne administrator. Arlt. Code Ann. § 20-10~1203(1).
Administrators are charged by law with responsibility for the management of nursing homes 42
C.F.R. § 483.75. Carol Hoelscher, as an Administrator of Pinewood l-lealth and Rehabilitation,
directed the overall, day-to~day operations of the facility and was supposed to ensure compliance
with government regulations and facility policies, including staffing regulations and policies
Carol Hoelscher, as an Administrator of Pinewood Health and Rehabilitation, also monitored the
quality of care being provided in the Facility, was responsible for the Facility’s budgetary
performance, was responsible for ensuring adequate staffing at the Facility, and also developed
and implemented marketing programs to attract residents or their responsible parties to the
Facility. Accordingly, Carol Hoelscher is a defendant whose conduct forms a significant basis of
the claims asserted herein and from whom significant relief is sought 'l`he causes of action made
the basis of this complaint arise out of the conduct of Carol Hoelscher’s administration of the
Facility. Carol Hoelscher is an Arkansas citizen and may be served with process at her last

known address: 8908 Gracie Lane, Fort Smith, Arkansas 72916.

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28. Upon information and belief, Defendant Barney L. Pierce was an Administrator
of Pinewood Health and Rehabilitation during the residency of Lucille Billings and/or during the
class period Arl<ansas nursing homes are required to be under the administrative direction and
charge of a licensed nursing home administratorv Ark. Code Ann. § 20-10-1203(1).
Administrators are charged by law with responsibility for the management of nursing homes 42
C.P.R. § 483.75. Barney L. Pierce, as an Administrator of Pinewood Health and Rehabilitation,
directed the overall, day-to-day operations of the facility and was supposed to ensure compliance
with government regulations and facility policies including staffing regulations and policies
Barney L. Pierce, as an Administrator of Pinewood Health and Rehabilitation, also monitored the
quality of care being provided in the Facility, was responsible for the Facility’s budgetary
performance, was responsible for ensuring adequate staffing at the Facility, and also developed
and implemented marketing programs to attract residents or their responsible parties to the
Facility. Accordingly, Barney L. Pierce is a defendant whose conduct forms a significant basis of
the claims asserted herein and from whom significant relief is sought The causes of action made
the basis of this complaint arise out of the conduct of Barney L. Pierce’s administration of the
Facility. Barney L. Pierce is an Arkansas citizen and may be served with process at his last
known business address: 1101 Waterwell Road, Crossett, Arkansas 71635.

29. 'l`he Defendants collectively controlled the operation, planning, management,
budget, and staffing of the Facility. The authority exercised by the Defendants over the Facility
included but was not limited to, control of marketing, human resources management, training,
staffing, creation and implementation of policies and procedures used by the Facility, federal and
State Medicare and l\/ledicaid reimbursement, quality care assessment and compliance, licensure
and certification, legal services, and financial, tax, and accounting control through fiscal policies

established by the Defendants

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30. The Defendants acted in concert and/or operated as a joint enterprise for the
purpose of streamlining and furthering their similar business interests, as the Facility and the
other corporate Defendants were owned by and controlled by the same owners, managers, and
decision makers The Defendants entered into agreements amongst themselves to pursue a
common plan or design to understaff the Facility and thereafter actively took part to understaff
the Facility throughout the Class Period.

31. At all relevant times mentioned herein, the Defendants owned, operated and/or
controlled the operation of the Facility, either directly or through the agency of each other and/or
other agents, subsidiaries, servants, or employees

32. Because the Defendants named herein and others were acting in concert or
engaged in a joint enterprise during the relevant times, the acts and omissions of each participant
in the concerted action or joint enterprise are imputable to all other participants The actions of
the Defendants and each of their servants, agents and employees as set forth herein, are imputed
to each of the Defendants, jointly and severally.

JURISDICTION AND VENUE

33. This Court has jurisdiction over the subject matter and the parties to this action,
and venue is proper in this Court.

BACKGROUND AND FACTUAL ALLEGATIONS

34. 'l`his case arises from Defendants’ systemic failures to have sufficient staff at
Pinewood Health and Rehabilitation to meet the needs of all of its residents, which caused
Plaintiff and the proposed Plaintiff Class to suffer economic damages and the injuries described
in more detail below.

35. Persons admitted to the Facility have limitations caused by physical deterioration,

cognitive decline, the onset or exacerbation of an acute or chronic illness or condition, or other

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related factors They need nursing care, medical treatment, and rehabilitation to maintain
functional status, increase functional status, or live safely from day to day. The residents are
elderly, disabled, confined to their beds or unable to rise from a bed or chair independently, and
unable to groom, feed, toilet, or clean themselves Consequently, these nursing horne residents
rely upon nursing horne staff for not only skilled nursing care and treatment, but also essential
primary care (herein “Basic Care”) including:

(a) Toileting assistance;

(b) lncontinence care and changing of wet and soiled clothing and linen;

(c) Assistance transferring to and from bed and wheelchair;

(d) Assistance with dressing and personal hygiene;

(e) Assistance with bathing;

(t) Assistance with turning and repositioning residents in bed or chair;

(g) Feeding and drinking assistance; and

(h) Exercises/passive range of motion (“ROM” exercises

36. Basic Care is primarily delivered by Certified Nursing Aides or “CNAs.”

37. Defendants limited the number of CNA staff on duty at the Facility, which
rendered the Facility incapable of meeting the needs of the residents With the limited budgets
for CNA staffing, the supply of CNA hours fell far short of the hours needed to adequately care
for the residents As a result, the residents did not get the care they needed or the care they paid
for_. as promised in the admission agreement and as the Defendants represented themselves as
capable of providing

38. The difference between the services that Defendants were required to provide

according to state and federal law and regulations-~which Defendants promised to provide in

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their admissions agreement--and the services that the Facility were actually capable of providing
is profound

39. lnterviews with residents’ families and former employees, and analysis of survey
results reported by the Office of Long Term Care confirm the chronic understaffing at the
Facility and the Defendants’ inability to provide the Basic Care services for which they were
paid.

40. More specifically, CNA understaffing led to a pattern and practice of failing to
provide Basic Care Services to the residents of Pinewood Health and Rehabilitation during the

ll class period For example, the Facility failed to provide adequate staff:

(a) To assist those residents who needed help with eating/drinking, grooming
and personal and oral hygiene;

(b) To timely respond to call lights activated by residents in need. Residents
were left to soil themselves while waiting for assistance; others fell while
attempting to walk to the bathroom unaided.

(c) To re-position bed-bound and immobile residents; many residents
remained in the same position for hours at a time, which caused
discomfort and frequently resulted in painful, infection-prone pressure
sores.

(d) To supervise residents and ensure that the nursing home area remained
free of accident hazards and risks. Many residents required the assistance
of two aides for transfers and mobility; however, the lack of available
staffing led to these residents being improperly and dangerously
transferred, often resulting in falls or other injury.

(e) To undertake ROM exercises - moving their joints and limbs, and
assisting vulnerable residents who could walk or exercise Without this
assistance, residents lost mobility, rendering them even less independent

(t) To wash and bathe dependent residents;

(g) To get dependent residents up, dressed, and out of bed.

(h) 'l`o assist dependent residents with meals. Without help, some

residents were unable to eat or drink in the time allotted, and some of them
suffered weight loss and dehydration.

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41. These practices confirm that the Facility did not provide the Basic Care that was
required and paid for, and highlight the very human toll of understaffing the Facility.
Defendants’ understaffing practices saved them millions of dollars at the expense of the
residents’ dignity and comfort, and jeopardized their safety. As a result of chronic understaffing,
residents at the Facility were left for long periods in their own urine and waste; were not cleaned,
repositioned, or moved, resulting in infections, pressure sores, and loss of mobility; were
deprived of food and water; and suffered falls The failure to provide adequate staff not only
violated the law and the contractual terms of the admission agreement, it also degraded residents
and stripped them of their dignity.

42. As even more specific proof of the chronic understaffing at the Facility and the
resulting harm to residents surveys conducted by the Office of Long Tenri Care establish that
the Defendants were on notice and aware of problems with understaffing causing harm to the
residents For example, just from 2013 to 2015, the Facility was cited for approximately twenty~
eight (28) health related deficiencies Specifically, the Facility has been cited for numerous
deficiencies relevant to the injuries of Ms. Billings as well as the Plaintiff Class, including:

(a) Failure to provide treatment or services to prevent/heal pressure sores (a
deficiency for which the Facility was cited in three (3) separate surveys
over a two and a half (2 1/;».) year period;

(b) Failure to establish and maintain an infection control program;

(c) Failure to provide care by qualified persons in accordance with the
residents’ written plan of care;

(d) Failure to ensure that the Facility is free from accident hazards and
provide supervision to residents to prevent avoidable accidents; and

(e) Failure to assist those residents who need help with eating/drinking,
grooming, and personal and oral hygiene,

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43. As demonstrated by the surveys the Defendants were on notice and aware of
problems with resident care, including those failures and deficiencies that caused injury to
Lucille Billings at the Facility but did nothing to correct those problems

44. Under Arkansas law, the Department of Hurnan Services, which licenses nursing
facilities to operate, “shall not issue or renew a license of a nursing facility unless that facility
employs the direct-care staff needed to provide continuous twenty~four~hour nursing care and
service to meet the needs of each resident of the nursing facility and the staffing standards
required by all state and federal regulations.” Ark. Code Ann. § 20-10-1402(a).

45. Under Arkansas law for direct-care givers,

...all nursing facilities shall maintain the following minimum
direct-care staffing-to-resident ratios:

(l) One (l) direct~care staff to every six (6) residents for the day
shift. Of this direct-care staff, there shall be at least one (l)
licensed nurse to every forty (40) residents;

(2) One (l) direct-care staff to every nine (9) residents for the
evening shift. Of this direct-care staff, there shall be at least one (l)
licensed nurse to every forty (40) residents;

(3) One (l) direct-care staff to every fourteen (14) residents for the
night shift. Of this direct-care staff, there shall be at least one (l)
licensed nurse to every eighty (80) residents

Ari<. Code Ann. § 20-10-i403(a).

46. Under Arkansas law, there are specific staffing standards regarding the minimum
number of direct-care staff required in nursing facilities and “the staffing standard
required...shall be the minimum number of direct~care staff required by nursing facilities and
shall be adjusted upward to meet the care needs of residents.” Ark. Code Ann. § 20-10-
l402(b)(1). Therefore, a facility which provides staffing at the minimum number of direct-care

givers required, is not in compliance with Arkansas law as those staffing numbers “shall be

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adjusted upward to meet the care needs of residents.” Id. By definition, failure to meet the
minimum staffing requirements for direct-care under Arkansas law is also a direct violation of
the federal law staffing requirements

47. The acts and omissions of Defendants were motivated by a desire to increase
profitability by reducing expenditures for needed staff, training, supervision and care to levels
that would predictably lead to severe injury for residents of the Facility.

CAUSES OF ACTION AGAINST THE DEFENDANTS
CLASS CLAiMs

48. Plaintiff brings this action individually and in a representative capacity pursuant
to Arkansas Rule of Civil Procedure 23 against the Defendants for violations of the Arkansas
Deceptive Trade Practices Act, codified at Ark. Code Ann. § 4-88-101, et. seq., breach of the
provider agreement, breach of the Defendants’ standard admission agreement, and negligence,
on behalf of Lucille Billings and all Arkansas citizens who were residents of the Pacility and the
estates of Arkansas citizens who were residents at the Facility any time from September 1, 2011
through December l, 2015. Excluded from the class are residents and estates of residents that
have sued in the past or currently have lawsuits pending against any of the Defendants,
employees of the Defendants, and all employees of the Court in which this case is pending.

49. Frorn September 1, 2011, to December 1, 2015, the Defendants provided
custodial care to more than 500 residents at the Pacility. 'l`he class plaintiffs are so numerous that
joinder of all individual claims is impracticable

50. Upon information and belief, at or near the time of admission to the Facility, all
residents were required to sign the same or substantially the same admission agreement,

51. Upon information and belief, in the admission agreement, the Defendants

promised to provide nursing and personal care and other items required for the residents’ known

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physical condition or by law for the residents’ health, safety, good grooming, and well-being ln
addition, the Defendants also promised to obtain the services of the residents’ physician

whenever necessary.

52. The Defendants owed a non-delegable duty to the Plaintiff and Plaintift` Class to
provide adequate and appropriate staffing at the Facility at all times, and Defendants knew that
state and federal law, which is incorporated into their admission agreement, required the
Defendants to meet critical staffing requirements These requirements include but are not limited

to the following:

(a) Meeting requirements for minimum numbers of facility staff
members to be present at all times, Ark. Code Ann. § 20-10-1401
et Seq.;

(b) Meeting requirements for the minimum number of staff members
to be adjusted upward to meet the care needs of residents, Ark.
Code. Ann. § 20~10-1401 et seq.;

(c) Meeting additional staffing requirements to assure that all residents
receive the highest quality of life while protecting their health and
welfare; Ark. Code Ann. § 20-10-1002 et seq.;

(d) Meeting the federal minimum standards imposed by the United
States Department of Health and Hurnan Services, 42 C.F.R. §
405-301 et seq. including providing sufficient nursing staff and
nursing personnel to ensure that each resident attains and maintains
the highest practical physical, mental, and psychosocial well-being.
42 C.F.R. § 483.30; and

(e) Meeting the requirements of other provisions of Arkansas and
Federal law.
53. In an effort to ensure that minimum staffing requirements are met, Arkansas law
requires that Defendants honestly, aecurately, regularly and truthfully:

(a) Post daily personnel sign~in sheets reflecting levels of staffing per
shift, Ark. Code Ann. § 20-10-1406; and

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(b) Submit to the Office of Long Term Care a written report of all
shifts which failed to meet the minimum staffing requirements,
Ark. Code Ann. § 20-10-1407.

54. Defendants filed such reports knowing that they were inaccurate and misleading

55. By understaffing the Facility, Defendants saved significant money and profited at
the expense of all residents Defendants operated and managed the Facility so as to maximize
profits by reducing staffing levels below that which Was needed to provide adequate care to
residents that would comply with federal and state regulations governing skilled nursing
facilities 'l`hus, Defendants intentionally and/or with reckless disregard for the consequences of
their actions caused staffing levels at the Facility to be set so that the personnel on duty at any
given time could not reasonably meet the needs of the residents, causing injury to the residents at
the Facility. 'l`he Defendants have created a broad corporate culture in which understaffing is a
standard practice and in which Defendants sought reimbursement of hinds from government
sources for services not provided

56. All residents in the Facility were injured by the Defendants’ chronic and
institutionalized understaffing. The lack of personnel in the Facility resulted in residents
receiving a level of care (l) that was below the level of care that Defendants represented they
were able to provide in their admission agreement, and (2) that failed to comply with state and
federal minimum staffing requirements

57. The pervasive common question is whether the Facility was chronically
understaffed so as to violate the residents’ statutory and contractual rights and breached their
legal duty to adequately staff the Facility. There are other questions of law and fact common to
the Plaintiff Class which predominate over questions affecting only individual class members
Such common questions include, but are not limited to:

(a) Whether the Defendants chronically understaffed the Facility in violation
of state and federal nursing home staffing laws and regulations;

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(b) Whether Defendants’ admission agreement required the Facility to
have sufficient staff to meet the care needs of the residents as
required by state and federal laws and regulations;

(c) Whether Ark. Code Ann. 20-10-1201, et. seq. imposes minimum
staffing requirements requiring the Facility to have sufficient staff
to meet the care needs of the residents;

(d) Whether Defendants failed to meet the minimum staffing
requirements of Ark. Code Ann. 20-10~l201, et. seq., and the
Defendants’ admission agreement by failing to provide sufficient
staff to meet the care needs of the residents;

(e) Whether failure to meet minimum staffing requirements required
by state and federal laws and regulations breaches the Defendants’
admission agreement;

(f) Whether failure to meet minimum staffing requirements required
by state and federal laws and regulations violates Ark. Code Ann.
20-10~1201, et. Seq;

(g) Whether chronically understaffing the Facility in violation of state
and federal laws and regulations is an unconscionable business
practice in violation of the Arkansas Deceptive Trade Practices
Act;

(h) Whether the Defendants owed a legal duty to the residents to staff
the Facility in compliance with State and federal laws and
regulations;

(i) Whether the Defendants breached their duty to staff the Facility in
compliance with state and federal laws and regulations',

(j) Whether failure to staff the Facility in compliance with state and
federal regulations is a breach of the provider agreement;

(k) Whether the admission agreement’s failure to disclose the
Facility’s history of understaffing is an omission or concealment
which constitutes a violation of the Arkansas Deceptive Trade
Practices Act;

(l) Whether the Defendants were unjustly enriched by failing to staff
the Facility in compliance with state and federal laws and

regulations;

(rn) Whether the Defendants in paragraphs 5-24, above, are control
persons as defined in Ark. Code Ann. § 4-88-113(d)(1) and

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therefore jointly and severally liable for the damages suffered by
the Plaintiff Class for the Defendants’ deceptive trade practices

58. 'l`he Plaintiffs will fairly and adequately protect the interests of the Plaintiff Class
and have familiarity with the allegations expressed herein and are able to assist in decision
making as to the conduct of this litigation

59. Plaintiff’s claims are typical of the claims of the class because the class
representative’s claims arise from the Defendants’ standard and routine practice of failing to
meet the minimum staffing requirements imposed by state and federal law and their own
admission agreement The chronic understaffing at the Facility made it impossible for the few
staff who were there to perform their tasks at a level which complied with the protections
afforded by the Residents’ Rights Act and other laws enacted and promulgated for the benefit
and protection of nursing home residents, and at the levels promised by the Defendants’
admission agreement

60. By understaffing the Pacility, Defendants intentionally placed profits over people
and knowingly took advantage of residents who were unable to protect their interests because of
their physical and mental infirmities Systernic understaffing of the Facility directly resulted in
undignified living conditions for the residents a breach of the admission agreement, a breach of
the provider agreement, a violation of state and federal law, a breach of the Facility’s duty to
adequately staff the Facility, and unjust enrichment of the Defendants. The injuries sustained by
the proposed class representative is typical of the injuries of the class and further evidence
understaffmg at the Facility.

61. By understaffing the Facility, Defendants placed profits over compliance with
state and federal law. These decisions were made and implemented by the owners, board
members management, employees and agents of Defendants and are an illegal, deceptive and

unconscionable business practice Since at least September l, 2011, and continuing through the

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class period, the Defendants, as a standard and routine business practice, violated state and
federal laws and regulations knowing that the well~being of all residents would be adversely
affected as detailed herein.

62. Defendants failed to discharge their obligations of care to Lucille Billings with a
conscious disregard for her rights and safety. At all times mentioned herein, Defendants, through
their corporate officers and administrators had knowledge of, ratified and/or otherwise
authorized all of the acts and omissions that caused the injuries suffered by Ms. Billings, as more
fully set forth below. Defendants knew that the Facility could not provide the minimum standard
of care to the weak and vulnerable residents of Pinewood Health and Rehabilitation. Moreover,
the Defendants knew that their failure to staff the Facility in compliance with state and federal
law made it impossible to provide all of the care and services to the Facility’s residents as
required by law and as promised in the Defendants’ admission agreement The severity of the
recurrent negligence inflicted upon Ms Billings while a resident of the Facility accelerated the
deterioration of her health and physical condition and resulted in serious physical and emotional
injuries While a resident at the Facility, Ms. Billings sustained multiple injuries including, but
riot limited to the development and worsening of pressure sores, multiple falls, pneumonia,
malnutrition, dehydration, respiratory arrest and failure due to aspiration and/or asphyxiation,
poor hygiene, and loss of dignity, and death.

63. As a direct and proximate result of the Defendants’ conduct, the Plaintiff Class
has suffered actual darnage, both in terms of physical injuries, as detailed above, and economic
damage The Plaintiffs, or someone acting on behalf of the Plaintiffs, provided payment in
exchange fdr services which were not provided, which were not as represented by the
Defendants, or as represented in their admission agreement, and not up to the standards required

by state and federal law and the Arkansas Residents’ Rights Act.

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64. The Defendants, as the owners, agents, managers and operators of a private
organization having the responsibility of protecting and caring for the residents have direct and
vicarious liability for the acts and omissions giving rise to this complaint

65. Plaintiffs have retained counsel qualified, experienced and able to conduct the
litigation, and Plaintiffs have made arrangements to cover the costs associated with this
litigation

66. lf each class member was required to pursue individual actions it would be
economically and judicially unfeasible A class action is appropriate and the superior method for
the fair and efficient adjudication of this controversy.

CouNr ONE: VioLATioN or THE DECEPTWE TRADE PRACTiCss ACT

67. Plaintiffs incorporate the allegations contained in Paragraphs 1_66 as if fully set
forth herein.

68. At all times pertinent to this cause of action, Plaintiffs were “elder person[s]” as
defined by the Arkansas Deceptive Trade Practices Act, Ark. Code Ann. § 4-88~20l(a). As an
“elder person” within the meaning of the Deceptive Trade Practices Act, the Plaintiffs have a
private cause of action to recover actual damages punitive damages and reasonable attomey’s
fees pursuant to Ark. Code Ann. § 4~88~204.

69. At all relevant times, the Arkansas Deceptive Trade Practices Act, codified at
Ark. Code Ann. 4-88-107(a) (“ADTPA”) provides that it is unlawful to:

(a) Knowingly take advantage of a consumer who is reasonably
unable to protect his or her interest because of:

i. Physical infirmity; or
ii. A similar factor; and

(b) Engage in any other unconscionable, false, or deceptive act or
practice in business commerce, or trade.

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70. Ark. Code Ann. § 4-88-108 provides that, when utilized in connection with the
sale or advertisement of any goods, services, or charitable solicitation, it shall be unlawful for
any person to (l) act, use or employ any deception, fraud or false pretense, or (2) conceal,
suppress, or omit any material fact with intent that others rely on the concealment, suppression,
or omission.

7l. The conduct of Defendants as described herein constitutes a deceptive practice in
violation of the ADTPA. Defendants failed to inform the Plaintiff and the Plaintiff Class in
Defendants’ standard admission agreement that the Facility routinely failed to meet minimum
staffing requirements imposed by state and federal law, which increased profits Furtherrnore,
Defendants represented themselves as providing services commensurate With the needs of the
residents and in compliance with the requirements of Arkansas state law governing long-term
care and nursing facilities

72. By understaffing the Facility, the Defendants knowingly took advantage of the
most vulnerable consumers and those who were unable to protect themselves Defendants’ unfair
and deceptive trade practices asserted herein are the type that the ADTPA is specifically
designed to protect against and remedy.

73. 'l`he Defendants’ trade practices also are, and have been throughout the Class
Period unconscionabie, because the nursing horne residents constitute a vulnerable population:
they are elderly, ill, infirm, and often deteriorating These residents often face the double burden
of dependency and isolation The Defendants accept these vulnerable residents for admission,
and then knowingly fail to provide sufficient levels of staffing to provide the care required

without disclosing in their admission agreement the Facility’s dreadful history of understaffing.

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74. The Defendants also engage in, and have engaged in throughout the Class Period,
substantively unconscionable trade practices by understaffing the Facility making it impossible
to provide adequate care to residents even though it charged for services it could not provide.

75. The Defendants knew that they were not meeting, and did not have sufficient
CNA staff to meet the Basic Care needs of their residents as mandated by state and federal laws
and regulations

76. The Defendants were further engaging in deceptive trade practices by infringing
upon and depriving the Plaintiff Class of the rights guaranteed by Ark. Code Ann. §§ 20-10~1201
et seq. (“Protection of Long Tenn Care Facilities Residents’ Act”) including, but not limited to,

the following:

(a) 'l`he right to receive adequate and appropriate health care and protective
and support services, including social services, mental health services, if
available, planned recreational activities, and therapeutic and rehabilitative
services consistent with the resident care plan for the Plaintiff Class, with
established and recognized practice standards within the community, and
with rules as adopted by federal and state agencies, such rights include:

l) The right to receive adequate and appropriate custodial service,
defined as care for the Plaintiff Class which entailed observation of
diet and sleeping habits and maintenance of a watchfulness over
their general health, safety, and Well-being; and

(b) The right to appropriate observation, assessment, nursing diagnosis,
planning, intervention, and evaluation of care by nursing staff;

(c) The right to access to dental and other health-related services, recreational
services, rehabilitative services, and social work services appropriate to
the needs and conditions of the Plaintiff Class, and not directly furnished
by the licensee;

(d) The right to a wholesome and nourishing diet sufficient to meet generally
accepted standards of proper nutrition, guided by standards recommended
by nationally recognized professional groups and associations with
knowledge of dietetics, and such therapeutic diets as may be prescribed by
attending physicians;

(e) The right to a facility with its premises and equipment, and conduct of its
operations maintained in a safe and sanitary manner;

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(i) The right to be free from mental and physical abuse, and from physical
and chemical restraints;

(g) The right of the Plaintiff Class to have privacy of their bodies in treatment
and in caring for their personal needs;

(h) 'l`he right to the obligation of the facility to keep full records of the
admissions and discharges of the Plaintiff Class and their medical and
general health status, including:

l) medical records;

2) personal and social history;

3) individual resident care plans, inciuding, but not limited to,
prescribed services service frequency and duration, and service
goals;

4) making it a criminal offense to fraudulently alter, deface, or falsify

any medical or other long-term care facility record, or cause or
procure any of these offenses to be committed; a

5) The right to be treated courteously, fairly, and with the fullest
measure of dignity.

77. As described in part and above, the Defendants received repeated citations related
to failures of Basic Care in Office of Long Term Care surveys Upon information and belief, they
received these deficiencies despite taking steps to increase staffing and prepare staff for surveys
immediately preceding the arrival of state surveyors _ steps that would lead surveyors to believe
levels of care provided were higher than they actually were during non-survey times

78. The conduct of the Defendants, as described herein, constitutes a deceptive
practice in violation of the Arkansas Deceptive "l`rade Practices Act. The Defendants engaged in
unconscionable, false, and/or deceptive acts or practices in business, commerce and/or trade by
marketing themselves and holding themselves out to the public as being able to meet the needs of

elder residents of Pinewood Health and Rehabilitation. The Defendants profited greatly as a

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result of their deceptive trade practices, but the Defendants were aware that the Facility could not
meet the needs of its residents

79. As a direct and proximate result of the Defendants’ wrongful conduct, Plaintiff
and the Plaintiff Class have suffered actual damages

COUNT Two: BREACH oF THE ADMisSioN AGREEMENT

80. Plaintiffs incorporate the allegations contained in paragraphs l~79 as if fully set
forth herein.

81. Before being admitted to Pinewood Health and Rehabilitation, residents, or those
acting on their behalf, including Lucille Billings, were required to enter into a resident admission
agreement, whereby the facility agreed to provide nursing and custodial care, necessary goods,
services, and/or treatment in exchange for valuable consideration

82. The residents, or those acting on their behalf, paid for or caused to be paid for, the
goods, services, care and treatrnent, including personal or custodial care, and professional
nursing care the Defendants promised to provide.

83. The Defendants breached their contractual duties, both expressed and implied, by
understaffing the Facility and creating a situation whereby it was impossible for caregivers to
provide the care and services as described in the agreement, causing damage to the residents

84. As a result, the Plaintiffs are entitled to compensatory damages, and Plaintiff and
the Plaintiff Class assert a claim for judgment for all compensatory damages including the
amount a jury determines is sufficient compensation for the loss of the benefit of promised
services and care and treatment, in an amount that exceeds that required for federal court
jurisdiction in diversity of citizenship cases.

85. The Defendants are also liable for all consequential damages, because the

Defendants knew, or should have known, that breaches of the admissions agreement would result

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in consequential damages to the Plaintiff Class, and, under the circumstances, the Defendants
should have understood that they had agreed to assume responsibility for any consequential
damages caused by their breaches of the admissions agreement

86. Plaintiffs seek judgment for all foreseeable consequential damages, which flowed
naturally from the failure of the Defendants to provide the care, goods, and services promised
under the admission agreement, including but not limited to medical expenses, pain and
suffering, and mental anguish

87. Plaintiffs are entitled to seek punitive damages for breach of contract, because the
Defendants knew or should have known, in the light of the surrounding circumstances, that their
nonfeasance in breach of the admission agreement would naturally and probably result in injury
or damage, yet the Defendants breached the agreement in reckless disregard of the consequences

from Which malice may be inferred

88. Plaintiff, for good cause, is unable to attach a copy of the actual admissions

agreement upon which this claim is based, because it is in the possession and control of the

 

Defendants
COUNT THREEZ BREACH OF 'I'HE PROVIDER AGREEMENT
89. Plairitiff incorporates the allegations contained in paragraphs 1-88 as if fully set
forth herein.
90. Upon becoming a resident of Pinewood Health and Rehabilitation, the residents,

many of whom were Medicare and/or Medicaid recipients, became third-party beneficiaries of
the contract or provider agreement between the Defendants and the state and federal

governments, an example of Which is attached as Exhibit B.

91. F or consideration duly paid by the residents, or on their behalf, the Defendants

agreed to provide residents with personal and custodial care and professional nursing care in

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compliance with the requirements set forth in the provider agreements, as Well as the minimum
standards of care imposed by applicable law including the statutes and regulations set out herein.
ln addition, by entering into the agreement, the Defendants promised to “comply with all rules,
regulations, changes in and additions thereto issued by the United States Department of Health
and Hurnan Services pertaining to nursing homes, and to comply with all rules, regulations, duly
promulgated changes in and additions thereto issued by the State.” The Defendants further
agreed that “the rights and privileges of the residents [were] of primary concern to the parties”
and covenanted to “protect and preserve” the rights of the residents 'l`he parties to the contract
agreed “that failure to act in a manner consistent with those rights and privileges shall constitute
an immediate breach of agreement.” See Exhibit B.

92. As the name implies, the provider agreement exists to pay for and provide for
resident, personal, or custodial care and professional nursing care. Additionally, the provider
agreement between the Defendants and the state and federal government was clearly intended to
benefit and protect the residents of Pinewood Health and Rehabilitation by requiring the
Defendants to provide quality care consistent with federal and state statutes and regulations

93. The Defendants breached the provider agreement and committed multiple acts of
nonfeasance in failing to adequately staff the Facility and provide the care, goods, and services to
industry standards, as required by law and as agreed, including but not limited to:

(a) Failing to provide dietary services, including special diets, supplemental
feedings, special delivery preparation, assistance, and equipment required
for preparing and dispensing oral feedings and special feeding devices;

(b) Failing to provide personal or custodial services and nursing care;

(c) Failing to implement policies and procedures so as to prevent infringement
or deprivation of the Plaintiff Class’s rights as residents of a long term

care facility',

(d) Failing to comply with protections, duties and obligations imposed by
applicable state and federal statutes and regulations as alleged herein; and

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(c) Failing to staff Robinson Nursing and Rehabilitation Center with
sufficient personnel to adequately meet the needs of the Plaintiff Class,
failing to comply with the rules and regulations promulgated by the state
and federal governments, and in failing to provide staff qualified to meet
the needs of the residents

94. As a result of the Defendants’ breach of the provider agreement, Plaintiffs assert a
claim for judgment for all compensatory damages including the amount a jury determines is
sufficient compensation for the loss of the benefit of promised services and care and treatment, in
an amount that exceeds that required for federal court jurisdiction in diversity of citizenship
cases

95. The Defendants are also liable for all consequential damages, because the
Defendants knew, or should have known, that breaches of the provider agreement would result in
consequential damages to the Plaintiff Class, and, under the circumstances, the Defendants
should have understood that they had agreed to assume responsibility for any consequential
damages caused by their breaches of the provider agreement.

96. Plaintiffs seek judgment for all foreseeable consequential damages, which flowed
naturally from the failure of the Defendants to provide the care, goods, and services promised
under the provider agreement7 including but not limited to medical expenses, pain and suffering,
and mental anguish

97. Plaintiffs are entitled to seek punitive damages for breach of contract, because the
Defendants knew or ought to have known, in the light of the surrounding circumstances, that
their nonfeasance in breach of the provider agreement would naturally and probably result in

injury or damage, yet the Defendants breached the agreement in reckless disregard of the

consequences from which malice may be inferred.

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98. A copy of the provider agreement form is attached to this Complaint as Exhibit
B', however, the Plaintiff, for good cause, is unable to attach a copy of the actual agreement

signed by the Defendants because it is in the possession and control of the Defendants

CouNr FoUR: UNJUST ENR\CHMENT

99. Plaintiff incorporates the allegations contained in Paragraphs l - 98 as if fully set
forth herein.

100. In violation of the Residents’ Rights Act, the Arkansas Deceptive Trade Practices
Act and other state and federal laws, the Defendants conspired to receive and did receive
payments from residents and payments made on behalf of residents for care and services that
they could not and did not provide, and Defendants were not entitled to receive such payment as
a result of the chronic understafting at the Facility and their inability to provide the services The
Defendants were unjustly enriched by receiving money which they were not legally entitled to
receive.

l()l. The Defendants were aware or should have been aware under the circumstances
that payments received from residents or on behalf of residents Were being made in the
expectation that Defendants could and would provide the level of care and services the
Defendants represented that they were capable of providing in their admissions agreement and
which complied with all applicable state and federal laws and regulations

lOZ. The Defendants should not be permitted to unjustly enrich themselves at the
expense of the Plaintiff and Plaintiff Class. Equity and good conscience requires the Defendants
to make restitution for all funds received in violation of state and federal laws and regulations
and in violation of their duty to adequately staff the Facility.

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CLASS PRAYER FOR RELIEF

WHEREFORE, Plaintiff on behalf of the Estate of Lucille Billings and on behalf of the
Plaintiff Class pray for judgment against Defendants as follows:

(a) For damages in an amount adequate to compensate the Plaintiffs for the
injuries and damages sustained and exceeding that required by federal court jurisdiction
in diversity of citizenship cases.

(b) Por all actual, general and special damages caused by the alleged conduct
of Defendants

(c) For the costs of litigating this case.

(d) For attorney’s fees pursuant to Ark. Code Ann. § 16-22-308 and Ark.
Code Ann. § 4-88-204 and ll3(f).

(e) For punitive damages sufficient to punish Defendants for their egregious
and malicious misconduct in reckless disregard and conscious indifference to the
consequences the residents and to deter Defendants and others from repeating such
atrocities.

(t) For all other relief to which Plaintiffs are entitled

THE ESTATE OF LUCILLE BILLINGS’ INDIV"IDUAL CLAIMS

103. Plaintiff incorporates the allegations contained in Paragraphs l - 102 as if fully
set forth herein.

104. Defendants were aware of Ms. Billings’ medical condition and needs when they
agreed to provide nursing and personal care required by her physical condition and by law for
her health, safety and weil-being.

105. In an effort to ensure that Lucille Billings and other residents whose care was

partially funded by the government were placed at Pinewood Health and Rehabilitation,

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Defendants held themselves out to the Arkansas Department of Human Services (DHS) and the

public at large as being:

(a) Skilled in the performance of nursing, rehabilitative and other medical
Support services;

(b) Properly staffed, supervised, and equipped to meet the total needs of their
nursing horne residents;

(c) Able to specifically meet the total nursing home, medical and physical
therapy needs of Lucille Billings and other residents; and

(d) Licensed by DHS and complying on a continual basis with all rules,
regulations and standards established for nursing homes.

106. Defendants were on notice and aware of problems with resident care at Pinewood
Health and Rehabilitation based upon surveys conducted at the Facility by the Office of Long
Terrn Care prior to and during the residency of Lucille Billings The Facility was consistently
cited for numerous deficiencies in the care provided to residents, which are discussed at length
above. See ll 42.

107. As a result of the Defendants’ conduct described herein and the Defendants’
negligent operation of the Facility, Lucille Billings suffered physical and emotional injury
including, but not limited to those described in 11 62, and which caused her to lose her personal
dignity and suffer extreme and unnecessary pain, anguish, emotional trauma, and loss of life.

108. During Lucille Billings’ residency at the Facility, Ms. Billings was under the care,
supervision and treatment of the Defendants and the injuries complained of were proximately
caused by the acts and omissions of the Defendants

CouNr ONE: NEGL!GENCE
109. Plaintiff incorporates the allegations contained in Paragraphs l ~ 108 as if fully

set forth herein.

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llO. The Defendants owed a non-delegable duty to residents, including Lucille
Billings, to adequately staff the Facility and to provide adequate and appropriate custodial care
and supervision, which a reasonably careful person would provide under similar circumstances.

lll. 'l`he Defendants owed a non-delegable duty to their residents, including Lucille
Billings, to exercise reasonable care in adequately staffing the Facility and providing care and
services in a safe and beneficial manner.

llZ. 'l`he Defendants owed a non-delegable duty to their residents, including Lucille
Billings, to hire, train and supervise employees to deliver care and services to residents in a safe
and beneficial manner.

ll3. The Defendants owed a non-delegable duty to residents, including Lucille
Billings, to use reasonable care in adequately staffing the Facility in order to treat their residents
with the degree of skill and learning ordinarily possessed and used by nursing home facilities in
the same or similar locality.

ll4. The Defendants owed a non-delegable duty to residents, including Lucille
Billings, to use reasonable care to treat the residents with the degree of skill and learning
ordinarily possessed and used by nursing horne facilities in the same or similar locality.

ll$. 'l`he Defendants owed a non-delegable duty to assist all residents, including
Lucille Billings, in attaining and maintaining the highest level of physical, mental and
psychosocial well-being

116. 'l`he Defendants breached these duties by failing to adequately staff the Facility
and failing to exercise reasonable care causing injury, abuse and neglect to Lucille Billings.
Understaffing the Facility caused the following acts and omissions, which is not exhaustive or an

all-inclusive list:

(a) 'Ihe failure to follow physician orders to ensure that residents were free of
significant medication errors;

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(b) The failure to ensure that Lucille Billings attained and maintained her
highest level of physical, mental, and psychosocial well-being;

(c) The failure to establish, publish and/or adhere to policies for nursing
personnel concerning the care and treatment of residents with nursing,
medical and psychosocial needs similar to those of Lucille Billings;

(d) The failure to increase the number of nursing personnel to ensure that
Lucille Billings received timely and accurate care assessments, and proper
treatment, medication and diet;

(e) The failure to provide sufficient numbers of qualified personnel, including
nurses, licensed practical nurses, certified nurse assistants and medication
aides to meet the total needs of Lucille Billings;

(t) The failure to increase the number of nursing personnel at the facility to
ensure that Lucille Billings:

l) Received timely and accurate care assessments;
2) Received proper treatment, medication, and diet; and
3) Was protected from accidental injuries by the correct use of

ordered and reasonable safety measures

(g) 'l`he failure to adequately screen, evaluate, and check references, test for
competence and use ordinary care in selecting nursing personnel to work
at the Facility;

(h) The creation of and/or the failure or refusal to identify and correct the
inj uries, conditions, and circumstances at the Facility;

(i) 'l`he failure to terminate employees at the Facility assigned to Lucille
Billings who were known to be careless, incompetent and unwilling to
comply with the policies and procedures of the Facility and the rules and
regulations promulgated by the Arkansas Department of Human Services
and the Office of Long Term Care;

(j) The failure to assign nursing personnel at the Facility duties consistent
with their education and experience based on:

l) Lucille Billings’ medical history and condition, nursing and
rehabilitative needs;
2) 'l`he characteristics of the resident population residing in the area of
the Facility where Lucille Billings was a resident; and,
3) The nursing skills needed to provide care to such resident
population
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(k) The failure by the members of the governing body of the Facility to
discharge their legal and lawful obligation by (l) ensuring that the rules
and regulations designed to protect the health and safety of residents, such
as Lucille Billings, as promulgated by the Arkansas Departrnent of Human
Services and the Arkansas Office of Long Term Care, were consistently
complied with on an ongoing basis and (2) ensuring appropriate corrective
measures were implemented to correct problems concerning inadequate
resident care;

(l) The failure to adopt adequate guidelines, policies, and procedures of the
Facility for documenting, maintaining files, investigating and responding
to any complaint regarding the quality of resident care or misconduct by
employees at the Facility, regardless of whether such complaint derived
from a resident of the Facility, an employee of the Facility or any
interested person;

(m) The failure to maintain medical records on Lucille Billings in accordance
with accepted professional standards and practices that are complete,
accurately documented, readily accessible and systematically organized
with respect to diagnosis, treatment and assessment and establishment of
appropriate plans of care and treatment; and

(n) The failure to properly in-service and orient employees to pertinent patient
care needs to maintain the safety of residents

ll7. A reasonably careful nursing home operating under similar circumstances would
foresee that the failure to adequately staff and provide the ordinary care listed above would result
in devastating injuries to Lucille Billings.

118. The Defendants’ also caused violation of certain laws and regulations in force in
the State of Arkansas at the time of the occurrences discussed herein including, but not limited
to, the following:

(a) By failing to provide sufficient nursing staff and nursing personnel to
ensure that Lucille Billings attained and maintained her highest practicable
physical, mental and psychosocial well-being;

(b) By failing to provide a safe environment; and

(c) By failing to administer the Facility in a manner that enabled it to use its

resources effectively and efficiently to attain or maintain the highest
practicable physical, mental and psychosocial well-being of each resident

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119. The Defendants were further negligent by infringing upon and depriving Lucille
Billings of the rights guaranteed by Ark. Code Ann. §§ 20-10~1201 et seq. including, but not

limited to, the following:

(a) The right to receive adequate and appropriate health care and protective
and support services, including social services, mental health services, if
available, planned recreational activities, and therapeutic and rehabilitative
services consistent with the resident care plan for Lucille Billings, with
established and recognized practice standards within the community, and
with rules as adopted by federal and state agencies, such rights include:

l) The right to receive adequate and appropriate custodial service,
defined as care for Lucille Billings which entailed observation of
her diet and sleeping habits and maintenance of a watchfulness
over her general health, safety, and well»being; and

(b) The right to appropriate observation, assessment, nursing diagnosis,
planning, intervention, and evaluation of care by nursing staff;

(c) The right to access to dental and other health-related services, recreational
services, rehabilitative services, and social work services appropriate to
the needs and conditions of Lucille Billings, and not directly furnished by
the licensee;

(d) The right to a wholesome and nourishing diet sufficient to meet generally
accepted standards of proper nutrition, guided by standards recommended
by nationally recognized professional groups and associations with
knowledge of dietetics, and such therapeutic diets as may be prescribed by
attending physicians;

(e) The right to a facility with its premises and equipment, and conduct of its
operations maintained in a safe and sanitary manner;

(f) The right to be free from mental and physical abuse, and from physical
and chemical restraints;

(g) The right of Lucille Billings to have privacy of her body in treatment and
in caring for her personal needs;

(h) The right to the obligation of the facility to keep full records of the
admissions and discharges of Lucille Billings and her medical and general
health status, including:

l) medical records;

2) personal and social history;
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3) individual resident care plans, including, but not limited to,
prescribed services, service frequency and duration, and service
goals;

4) making it a criminal offense to fraudulently alter, deface, or falsify

any medical or other long-term care facility record, or cause or
procure any of these offenses to be committed; a

5) The right to be treated courteously, fairly, and with the fullest
measure of dignity.

120. A reasonably prudent nursing home, operating under the same or similar
conditions, would not have failed to adequately staff the Facility and provide the care listed
above. Each of the foregoing acts of negligence on the part of the Defendants was a proximate
cause of Lucille Billings’ injuries, which were foreseeable Ms. Billings suffered personal injury
including extreme pain and suffering, mental anguish, disfigurement, disability, degradation, loss
of personal dignity, emotional distress, and loss of life.

lZl. As a direct and proximate result of such grossly negligent, willful, wanton,
reckless, malicious and/or intentional conduct, Ms. Billings suffered the injuries described
throughout this complaint Plaintiff asserts a claim for judgment for all compensatory and
punitive damages against the Defendants including, but not limited to, medical expenses,
extreme pain and suffering, mental anguish, emotional distress and loss of life in an amount
exceeding that required by federal court jurisdiction in diversity of citizenship cases, to be
determined by the jury, plus costs and all other relief to which Plaintiff is entitled by law.

COUNT Two: Mai)iCAL MALPRACTiCi_z_

122. Plaintiff incorporates the allegations contained in Paragraphs l - 121 as if fully
set forth herein.

123. The Defendants are either medical care providers as defined by Ark. Code Ann. §

l6~l 14-201(2) and/or liable for medical care providers as defined by Ark. Code Ann. § l6-l 14-

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20l(2).

124. 'l`he Defendants owed a non-delegable duty to residents, including Lucille
Billings, to use reasonable care in treating their residents with the degree of skill and learning
ordinarily possessed and used by nursing home facilities in the same or similar locality.

125. The Defendants owed a non-delegable duty to assist all residents, including
Lucille Billings, in attaining and maintaining the highest level of physical, mental and
psychosocial well-being

126. The Defendants failed to meet the applicable standards of care and violated their
duty of care to Lucille Billings through mistreatment, abuse and neglect. The Defendants failed
to adequately supervise nurses and aides and failed to hire sufficient nurses and aides. As such,
the nurses and aides were unable to provide Lucille Billings the requisite care, and as a result,
negligent acts occurred as set forth herein The medical negligence of Defendants includes, but is

not limited to, the following acts and omissions:

a) The failure to ensure that Lucille Billings received the following:
l) Timely and accurate care assessments;
2) Proper treatment, medication and diet;
3) Necessary supervision; and
4) 'l`imely nursing and medical intervention due to a significant

change in condition

b) The failure to provide, implement, and ensure adequate nursing care plan
revisions and modifications as the needs of Lucille Billings changed;

c) The failure to provide, implement and ensure that an adequate nursing care
plan for Lucille Billings Was followed by nursing personnel',

d) The failure to provide Lucille Billings with adequate and appropriate
nursing care, treatments, and medications;

e) The failure to ensure that Lucille Billings was assessed in order to receive
adequate and proper nutrition, fluids, and therapeutic diet;

f) The failure to provide adequate care and treatment to Lucille Billings; and

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g) The failure to adequately and appropriately monitor Lucille Billings and
recognize significant changes in her health status.

127. A reasonably prudent nursing home, operating under the same or similar
conditions, would not have failed to provide the care listed above, Each of the foregoing acts of
negligence on the part of the Defendants was a proximate cause of Lucille Billings’ injuries,
which were foreseeable Ms. Billings suffered personal injury, including excruciating pain and
suffering, mental anguish and emotional distress, which caused her family to suffer more than
normal grief upon her death. Plaintiff prays for compensatory damages against the Defendants
for the wrongful death of Lucille Billings, including the grief suffered as Well as the expenses of
the funeral and other related costs.

128. 'l`he Defendants were negligent and reckless in breaching the duties owed to
Lucille Billings under the Medical Malpractice Act for the reasons specifically enumerated in
this Complaint.

129. As a direct and proximate result of such grossly negligent, willful, wanton,
reckless, malicious, and/or intentional conduct, Lucille Billings suffered injuries as described
herein. Plaintiff asserts a claim for judgment for all compensatory and punitive damages against
the Defendants, including, but not limited to, medical expenses, extreme pain and suffering,
mental anguish, emotional distress and loss of life in an amount exceeding that required for
federal court jurisdiction in diversity of citizenship cases, to be determined by the jury, plus costs
and all other relief to which Plaintiff is entitled by law.

INi)ivii)uAL PRAYER ron RELiEF
WHEREFOR_E, Plaintiff Delois Pippen, as Special Administratrix of the Estate of Lucille

Billings, prays forjudgment against the Defendants as follows:

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(a) For damages in an amount adequate to compensate the Plaintiff for the injuries
and damages sustained and exceeding that required by federal court jurisdiction in diversity of
citizenship cases.

(b) For all general and special damages caused by the alleged conduct of Defendants

(c) For the costs of litigating this case.

(d) For punitive damages sufficient to punish Defendants for their egregious and
malicious misconduct in reckless disregard and conscious indifference to the consequences to
Barbara Morris and to deter Defendants and others from repeating such atrocities.

(e) For all other relief to which Plaintiff is entitled.

PLAINTIFF DEMANDS TRIAL BY JURY

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Respectfully submitted,

Delois Pippen, as Special Administratrix of the
Estate of Lucille G. Billings, deceased, and on
behalf of the wrongful death beneficiaries of Lucile
G. Billings and on behalf of all other similarly
situated

 

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Attomeysfor the Plaz`ntz'ff

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IN THE CIRCUIT COURT OF ASHLEY COUNTY, ARKANSAS
PROBATE DIVISION

IN THE l\lATTER OF THE ESTATE OF
LUC'I'LLE G. BILLINGS, DECEASED NO.: PR-Z()IS¢ L{¢/j

ORDER API’OINTING
SPECIAL ADMINISTRATRIX
Now on this day, comes on before this Court, Delois Pippen having petitioned the Court
for appointment of Special Ad.ministratrix of the Estate of Lucille G. Billings, deceased, and the
Court after reviewing the file and being well and sufficiently advised in the premises, doth make
the following findings and enter the following order:
(1)
The Decedent, Lucille G. Billings, age 90, who resided at Pinewood Health & Rehab,
1101 Waterwell Road, Crossett, Arkansas 71635, died intestate, on or about the 3'd day of
January, 2015. She is survived by the Petitioner, Delois Pippen, and Lois Jean Billings
(2)
Petitioner seeks this Special Administration so that she may pursue all civil claims,
including wrongful death claims against the appropriate individuals
(3)
That the Petition for Appointment of Special Administratrix is in compliance With the
ProbateCode for the State ofA.rkansas.
(4)
That the Clerk is hereby authorized to issue Letters of Special Administration to the

Special Adnrinistratrix upon filing her Acceptance as Special Administratrix.

EXH|B|T

 

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(5)
The Court finding that Delois Pippen is qualified by law to be appointed as Special

Adrniriistratrix of the Estate of Lucille G. Billings.
l'l` IS CONSIDER_ED, ORDERED AND ADJUDGED that the Special Administration of

the Estate of Lucille G. Billings, be, and the same, is hereby opened.

IT lS FURTHER ORDERED that Delois Pippen, be, and she is hereby, appointed as
Special Administratrix of the Estate of Lucille G. Billings, deceased, to serve without bond, and
the Clerl< of the Cou.rt is directed to issues Letters of Special Administration to her upon filing

her Acceptance.
lT lS FURTHER ORDERED that the employment of Byrd Law Firm, “P.A.” as the

attorneys for the Special Administration and for all civil claims

~*‘ y n
GIVEN UNDER MY HAND AS CIRCUIT IUDGE this é § day oi}_’_é%z_,

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CONTRACT
TO PARTlC|PATE lN THE ARKANSAS NURS|NG HOME PROGRAM
ADMIN|STERED BY THE DlVlSlON OF ECONOMIC AND MED!CAL SERV|CES
OFF|CE OF LONG TERM CARE
UNDER TlTLE XlX (MED|CAlD)

 

 

Thls Facillty a reement made and entered into this the da of ,
g o com etc y y (lo be completed by D`M'S)
by and between hereinafter called Providor, and
(lo be completed by DMS)

the Deparlment of Economlc and Medlca| Services, Offlce of Long Term Care hereinafter called State.

WlTNESSTH:
l, Provlder agrees that its responsibilities hereunder shall be as follows:

A.

To keep all records, as set forth in applicable Federal and/or State regulations and Long Term Care Provlder

Manuals. and any duly promulgated changes in or additions thereto. and to fully disclose the extent of all services

provided lo individuals receiving assistance under the State Plan.

To make available for inspection all records herein specified to satisfy audit requirements under the program;
to furnish all such records for audit conductlon periodically by State or its designated agents andfor representatives
of the Department of Human Services. and the Deparlment of Health and Human Services of the United States
of America or its designees or representatives For all Medicald recipients these records shall lnclude, but not
necessarily be limited to those records as defined in Section A above.

Provlder shall at all times provide State access to the facility. residents and resident records. Provlder expressly agrees
not to hinder. lmpede, or otherwise restrict State from carrying out its offlcial duties and expressly agrees to reasonably
assist State in carrying out its official duties ln this conlext, "ofliclal dulles" include inspections surveys and
investigations and reviews as prescribed by State and Federa| laws, rules and regulations and shall allow “observatlon
and recordings made and conducted relative to long term care facilities long term care residents and records of or
possessed by facility and/or residents ‘Observallon' includes the right and ability to move in or around the interior and/or
exterior, including resident rooms of along term care facilily, unaccompanied (except upon request if the lnspector[s}) at
any time. ‘Recordlngs‘ lnclude photostatic copies. notes, writings. drawlngs, and photographs (whether still or motion, ln
accordance with Section 2 of Arl<. Act 33 of 1989), and sound recordings.“

To accept only residents who have met the requirements of the duly promulgated Pre-Admlsslon Screening Program

and for whom the facility can provide all required and necessary services Provlder specifically herein agrees

to insure avallabillly of all medications prescribed by the residents physician

To provide all services without discrimination on the grounds of race, color, national origin, or physical or mental disability
within the provisions of Tltle Vl of the Federal Civil Rights Act, and Sectlon 504 of the Rehabtlilatlon Aclof 1973.
Provider agrees herewith that ll has been furnished with a copy of the LTC Provider Manual, and shall be bound by all
provisions lhereof. including any and all changes and/or additions thereto

To comply with all rules, regulations changes in and additions thereto issued by the United Stales Deparlmenl
of Health and Human Services pertaining to nursing homes, and to comply with all rules, regulations duly promulgated
changes in and additions thereto issued by the Stale.

To meet all requirements of applicable l,lfe Salety Code and all State Flre and Safely Codes.

Provlder will not transfer or discharge any recipient without a mln|mum of 30 days advance notice to the individual

cr a responsible person. Provlder may transfer or discharge a Medlcald recipient under the following circumstances:

1. The transfer or discharge is necessary to meet the residents welfare and the residents welfare cannot be met ln
the facility;

2. The transfer or discharge is appropriate because the residents health has improved sufficiently so the resident
no longer needs the servlces provided by the facilily;

3. The safely of the individuals in the facility ls endangered;

4. The health of individuals in the facility would otherwise be endangered;

5. The resident has failed, after reasonable and appropriate notice, to pay (or to have paid under Tllle XlX
or Tltle XVlll on the resident's behalf an allowable charge imposed by the facility for an item or service requested
by the resident and for which a charge may be lmposed consistent with federal and state laws and regulations; or

6. The facility ceases to operate

The notice of transfer or discharge must be made at least 30 days in advance of the residents transfer or

discharge excepl:

a. ln a case described in item H(3) or H(4) above:

b. ln a case described in item H(2) above where the residents health improves sutflclenlly to allow for a more
immediate transfer or discharge;

c. ln a case described in item H(1) above where a more immediate transfer or discharge is necessitated by
the residents urgent medical needs; or

d. ln a case where the resident has not resided in the facility for 30 days

provider shall give 30 day notice to the State prlor lo any change of ownership including a change which contemplates
or provides for the assumptions of existing liabilities by the new owner.
EXH|B|T

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To bill State (Medicaid) only after the service has been provided

K. To accept Medicaid reimbursement rates determined by the State as full payment for all Medicaid eligible care
and services required by the classification of each resident and rendered by the provider, and make rio additional
charges to the resident. or to accept any additional payment from the resident relatives. or responsible parties
for that service which is covered under the tvledicaid Program.

L. To promptly refund to the resident or responsible party any unused portion of recipient applied income collected
in advance and not owed due to death. discharge or transfer. Recipient income is to be prorated on a per diem
basis according to the number of days iri the month.

M. To promptly refund to a resident or other responsible person any deposit or entrance fee collected while awaiting
approval for Medicaid eligibility to the extent those days are covered by Medicaid payments

N. To provide all services and specific items as defined in the Medicat Asslstance Reasonable Cost Related
Reimbursement Manual for Long Term Care Facilities (MARCRRM-LTCF), or any additions thereto or subsequent
manuals. Receipt of lyledicaid per diem reimbursement rates is considered payment in full for services and items
included in the MARCRRM.

O, To accept assignment and file a claim in a timely and proper manner with all third party sources, and if said
claim is collected from a third party, to reimburse Medicaid up to the amount Medicaid paid for said services

P. The 330 Personal Needs Allowance which is provided for by the Medicaid Program for personal expenditures
ofa resident cannot and shall not be used for any other purpose except as authorized in writing by the resident
or responsible party.

Q. To comply with all State and/or Federal regulations pertaining to resident personal funds and to provide the State
access to patient account records or any other financial records maintained by the provider for benefit of the
patient.The new owner must specify in writing which owner will be responsible for recipient Medlcaid claims
and facility account receivable balances resulting from dates of service prior to the ownership change. .

Further Provider agrees that it will not prevent or interfere with the individual or responsible person, or the Ofnce

of Long Terrn Care in the transfer or discharging of a patient when same is appropriate

The State agrees that it shall have the following responsibilities hereunder:

A. To make timely payments to Provider for the appropriate Medicaid services provided the eligible lvtedicaid recipients
in accordance with the terms of the LTC Provider Manual or other appropriate regulations and procedures previously
mentioned herein.

B. To notify Provider of any changes of rules or regulations to be followed hereunder as promptly as is practicable
at all times.

C. To safeguard the confidentiality of any Medicaid records maintained for the State, its agenis_. and/or fiscal intermediary
as specified in Federat and State regulations

Mutual Covenants, Duties, Responsibilities. and Undertal<ings

A. State and Provlder mutually agree to comply with all Federal and State lews. rules and regulations

l3. State and Provider agree that the rights and privileges of the residents are of primary concern to the parties
and the parties expressly agree and covenant to protect and preserve those rights and privileges and that failure
to act in a manner consistent with those rights and privileges shall constitute an immediate breach of agreement
and may result in immediate termination of this agreement without recourse

C. State and Provider agree and covenant that this written instrument constitutes the entirety of the agreement between

both parties and no statement or representations not reduced to writing or incorporated herein by express reference
shall be binding upon the parties and such statements or representations not incorporated herein by express

reference or not contained herein shall constitute no part of this agreement

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lV. This contract may be terminated in accordance with the following provisions:
A. This contract may be terminated by either party by giving 30 days written notice to the other party.
B. This contract may be terminated immediately by State for the following reasons:
1. Federal sanction of Provider.
2. Change of ownership
3. Violation of any provision herein contained
4. ln accordance with termination procedures as set out iri appropriate Federal andlor State regulations or rules
by which Provider is bound hereunder.
Provider Division of Econcmlc and Medical Services
Otflce of Long `t'erm Care
B)C By: _
(Signature) (Signature)
Name: Name: Carol Shockiev
(Type Name) (Type Narne)
Title: Administrator Title: Director. LTC
Date: ` Date:

 

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